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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                       )
                                                )
               v.                               )
                                                )          Criminal No. 23-00061-MN
ROBERT HUNTER BIDEN,                            )
                                                )
                       Defendant.               )

          THE UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION
          FOR DISCOVERY AND AN EVIDENTIARY HEARING REGARDING
                  HIS MOTIONS TO DISMISS THE INDICTMENT

       The United States respectfully opposes defendant Robert Hunter Biden’s motion for

discovery and an evidentiary hearing regarding his motions to dismiss the indictment. See ECF

64. With respect to his motion to dismiss for selective and vindictive prosecution (ECF 63), as

discussed in the government’s response (ECF 68), the defendant fails to make a credible showing

of both discriminatory effect and discriminatory intent or animus and has therefore failed to meet

the “correspondingly rigorous standard for discovery” in aid of such claims. United States v.

Armstrong, 517 U.S. 456, 468 (1996). Moreover, because he failed to make a credible showing

supporting both elements, an evidentiary hearing is likewise not warranted. See United States v.

Torquato, 602 F.2d 564 (3d Cir. 1979); United States v. Slawick, 1993 U.S. Dist. LEXIS 11020,

*3 (Dist. of Del. 1993).

       Additionally, as discussed in the government’s response (ECF 69) to his motion to

dismiss the indictment based on immunity conferred by the proposed diversion agreement that

never went into effect (ECF 60), parol evidence is not permitted to support the claims he raised

in his motion because, as the defendant concedes, the relevant language in the Diversion

Agreement is unambiguous. Therefore, an evidentiary hearing involving the “participants to the



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negotiations (including U.S. Attorney David Weiss),” ECF 64, is irrelevant to the issues raised by

the defendant. His motion should be denied.

I.     BACKGROUND

       On September 14, 2023, a grand jury in the District of Delaware returned a three-count

indictment charging the defendant with violating 18 U.S.C. §§ 922(a)(6) and 924(a)(2) for

making a false statement during a background check to deceive a firearms dealer when he

acquired a firearm (“Count One”), 18 U.S.C. § 924(a)(1)(A) for making a false statement during

a background check on paperwork that the firearms dealer was required to maintain (“Count

Two”), and 18 U.S.C. §§ 922(g)(3) and 924(a)(2) related to his illegal possession of a firearm

between October 12, 2018 and October 23, 2018 (“Count Three”) (hereafter the “gun case”).

ECF 39, 40.

       On October 8, 2023, the defendant made a request for discovery under Federal Rules of

Criminal Procedure 16.

       On October 12, 2023, the government provided to the defendant a production of materials

consisting of over 350 pages of documents as well as additional electronic evidence from the

defendant’s Apple iCloud account and a copy of data from the defendant’s laptop. This

production included search warrants related to evidence the government may use in its case-in-

chief in the gun case, statements of the defendant including his admissions that he was addicted

to crack cocaine and possessed a firearm in 2018, and law enforcement reports related to the gun

investigation.

       On November 1, 2023, the government provided a production of materials to the

defendant that was over 700,000 pages and largely consisted of documents obtained during an

investigation into whether the defendant timely filed and paid his taxes and committed tax

evasion. These documents included information of the defendant’s income and payments to drug
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and alcohol rehabilitation programs in 2018, the same year in which the defendant possessed the

firearm while addicted to controlled substances.

          On December 7, 2023, a grand jury in the Central District of California returned an

indictment (hereafter the “tax indictment”) charging the defendant with the following tax

offenses:

 COUNT         STATUTE              OFFENSE                 TAX YEAR AND FILING
   1           26 U.S.C. § 7203     failure to pay          2016 Form 1040 for Hunter Biden
   2           26 U.S.C. § 7203     failure to pay          2017 Form 1040 for Hunter Biden
   3           26 U.S.C. § 7203     failure to file         2017 Form 1040 for Hunter Biden
   4           26 U.S.C. § 7203     failure to pay          2018 Form 1040 for Hunter Biden
   5           26 U.S.C. § 7203     failure to file         2018 Form 1040 for Hunter Biden
   6           26 U.S.C. § 7201     tax evasion (felony)    2018 Form 1040 for Hunter Biden
   7           26 U.S.C. § 7206     filing a false return   2018 Form 1040 for Hunter Biden
                                    (felony)
      8        26 U.S.C. § 7206     filing a false return   2018 Form 1120 for Hunter Biden’s
                                    (felony)                company, Owasco, PC
      9        26 U.S.C. § 7203     failure to pay          2019 Form 1040 for Hunter Biden

          In advance of his initial appearance on the tax indictment, the government made a

production of materials to the defendant on January 9, 2024, which included over 500,000 pages

of documents and consisted of additional information related to the tax investigation.

II.       ARGUMENT

          A.     The Defendant Failed to Make a Credible Showing to Support His Request
                 for Discovery in Support of His Claims of Selective and Vindictive
                 Prosecution and Breach of Separation of Powers

          In the defendant’s motion, he requests discovery that he claims is relevant to his motion

to dismiss for selective and vindictive prosecution. ECF 63. Although he does not specifically

identify in his motion what discovery he seeks, he includes as exhibits two letters sent by the

defense to the government. ECF 64, 65. Those letters include a myriad of requests for

information, some of which has been produced and some of which has not been produced in

discovery. With respect to his selective and vindictive prosecution claims, it appears that

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defendant is seeking an order requiring the government to provide the following discovery

requested in those letters:

               -   Emails, documents, and information reflecting deliberative processes and
                   decision-making of DOJ concerning the investigation and its decision to bring
                   charges against the defendant. ECF 65 at ¶¶ E, G

               -   Emails, documents, and information concerning communications with
                   Congress and “any person at the U.S. Department of Justice” “concerning the
                   investigation or prosecution of Mr. Biden, including the decision to bring any
                   particular charges.” ECF 65 at ¶ H

               -   “All documents and records reflecting communications from January 20, 2017
                   to the present (the “Relevant Time Period”) to, from, between, or among
                   Donald J. Trump, William P. Barr, Geoffrey Berman, Scott W. Brady, Richard
                   Donoghue, or Jeffrey A. Rosen relating to or discussing any formal or
                   informal investigation or prosecution of Hunter Biden, or a request thereof”
                   ECF 66 at ¶ 1

               -   “All documents and records reflecting communications from the Relevant
                   Time Period to, from, between, or among Donald J. Trump, William P. Barr,
                   Geoffrey Berman, Scott W. Brady, Richard Donoghue, or Jeffrey A. Rosen
                   and any Executive Branch official, political appointee, Department of Justice
                   official, government agency, government official or staff person, cabinet
                   member, or attorney for President Trump (personal or other) discussing or
                   concerning Hunter Biden.” ECF 66 at ¶ 2

       For the same reasons discussed in the government’s response to his motion to dismiss the

indictment for selective and vindictive prosecution and breach of separation of powers, the

defendant’s request for discovery should be denied. The defendant’s motion fails to meet the

exacting standards both for the merits of such claims and for seeking discovery in aid of them.

       To prove a selective prosecution claim, “a criminal defendant must present clear

evidence.” Armstrong, 517 U.S. at 465. Defendant failed to do so in either his motion to dismiss

the indictment for selective and vindictive prosecution and in the instant motion for discovery in

support of those claims.




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       As the Court explained in Armstrong, “[t]he justifications for a rigorous standard for the

elements of a selective-prosecution claim thus require a correspondingly rigorous standard for

discovery in aid of such a claim.” 517 U.S. at 468. That is because, “[d]iscovery imposes many

of the same costs present when the Government must respond to a prima facie case of selective

prosecution,” both by “diverting prosecutors’ resources” and potentially “disclosing the

Government’s prosecutorial strategy.”

       Notably, Armstrong did not adopt a case-by-case balancing of factors to determine

whether discovery is warranted. Instead, the Court struck the balance itself, concluding that “the

Government’s interest in vigorous prosecution and the defendant’s interest in avoiding selective

prosecution” permits discovery only after a defendant makes “a credible showing of different

treatment of similarly situated persons.” Id. at 470; see also id. at 469 (rejecting the Ninth

Circuit’s conclusion that a defendant could obtain discovery “without evidence that the

Government has failed to prosecute others who are similarly situated to the defendant”).

       Subsequently, the Supreme Court repeated the need for such comparators “even assuming

that the Armstrong requirement can be satisfied by a nationwide showing (as opposed to a

showing regarding the record of the decisionmakers in respondent’s case).” United States v. Bass,

536 U.S. 862, 863 (2002) (per curiam). The Supreme Court in Bass summarily reversed a

divided panel of the Sixth Circuit that had affirmed a district court’s discovery order for a

selective prosecution claim that was supported by nationwide statistics. 536 U.S. at 864. The

Court found that the defendant in Bass failed to meet the burden for obtaining discovery to

pursue his claim because “raw statistics regarding overall charges say nothing about charges

brought against similarly situated defendants.” Id. (emphasis in original).




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       Though Armstrong itself did not specifically address vindictive-prosecution claims, it

relied heavily on the same prosecutorial discretion and presumption of regularity that Goodwin

recognized in the context of pre-trial vindictive-prosecution claims. Compare Armstrong, 517

U.S. at 463–65, 468, with United States v. Goodwin, 457 U.S. 368, 384 & n.19 (1982).

Accordingly, both before and after Armstrong, the circuits have uniformly held that the same

“some evidence” pleading standard for selective-prosecution discovery applies to vindictive-

prosecution discovery. See United States v. Bucci, 582 F.3d 108, 113 (1st Cir. 2009); United

States v. Hirsch, 360 F.3d 860, 864 (8th Cir. 2004); United States v. Wilson, 262 F.3d 305, 315–

16 (4th Cir. 2001); United States v. Sanders, 211 F.3d 711, 717 (2d Cir. 2000); United States v.

One 1985 Mercedes, 917 F.2d 415, 421 (9th Cir. 1990); United States v. Heidecke, 900 F.2d

1155, 1159 (7th Cir. 1990); United States v. Adams, 870 F.2d 1140, 1145–46 (6th Cir. 1989).

       The Third Circuit rigorously enforces Armstrong’s requirements to obtain discovery. 1 In

United States v. al Hedaithy, 392 F.3d 580, 607-08 (3d Cir. 2004), for example, the court held

that a defendant was not entitled to discovery based on “numerous newspaper articles”

demonstrating that several thousand people cheated on a standardized test every year yet “the

Government has never before prosecuted such cheaters for any offense.” The court noted the

“defect in Al Hedaithy’s proffer is that none of the evidence indicates that similarly situated

persons were treated differently” and identified the lack of any showing about similarities in the

scope, facts, nature, or purpose of the offenses for other individuals not prosecuted. Id. at 608. In


   1
      In fact, well before Armstrong, the Circuit emphatically rejected a defendant’s attempts to
obtain discovery into the prosecutorial decisions leading to his charging. United States v.
Berrigan, 482 F.2d 171, 180 (3d Cir. 1973) (“[F]ew subjects are less adapted to judicial review
than the exercise by the Executive of his discretion in deciding when and whether to institute
criminal proceedings, or what precise charge shall be made, or whether to dismiss a proceeding
once brought.”) (quoting Newman v. United States, 382 F.2d 479, 480 (D.C. Cir. 1967) (Burger,
J.)).

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United States v. Taylor, 686 F.3d 182, 197 (3d Cir. 2012), the court again held that a defendant

failed to meet the discovery threshold “given [Armstrong’s] high standards” in the absence of

showing “any other examples of defendants” who committed similar crimes without comparable

prosecution. 2

        More recently, even while slightly relaxing the standard for discovery into allegedly

discriminatory law-enforcement practices, the Third Circuit emphasized that Armstrong and Bass

continue to apply to all claims “that implicate protected prosecutorial functions.” United States v.

Washington, 869 F.3d 193, 220 (3d Cir. 2017). In so doing, the Third Circuit reiterated that

“‘some evidence’ must still include a showing that similarly situated persons were not

prosecuted,” which “must be ‘credible’ and cannot generally be satisfied with nationwide

statistics.” Id. at 214-15 (citing Armstrong and Bass)). The Third Circuit further noted that this

standard is a “demanding gatekeeper” and that “neither the Supreme Court nor this [Circuit] has

ever found sufficient evidence to permit discovery of a prosecutor’s decision-making policies

and practices.” Id. at 215. Where a district court orders discovery on such claims and the

government refuses to comply, a district court’s decision to dismiss an indictment as a sanction is

an abuse of discretion where the defendant had failed to make a credible showing of both

elements of selective prosecution. United States. v. Hastings, 126 F.3d 310, 317 (4th Cir. 1997)

(concluding Hastings was not entitled to discovery on selective prosecution claim and reversing

district court).



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      A host of unpublished decisions hold likewise. See, e.g., United States v. Bernick, 651 F.
App’x 102, 105 (3d Cir. 2016); United States v. Roberts, 404 F. App’x 624, 625 (3d Cir. 2010);
United States v. Gist, 382 F. App’x 181, 183-84 (3d Cir. 2010); United States v. Rhines, 143 F.
App’x 478, 481 (3d Cir. 2005); United States v. Geddes, 98 F. App’x 187, 188 (3d Cir. 2004),
vacated on other grounds, 543 U.S. 1109 (2005); United States v. Davis, 39 F. App’x 702, 705
n.3 (3d Cir. 2002).

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       As discussed in the government’s response (ECF 68), the defendant’s motion does not

even attempt to identify a similarly situated individual who was not prosecuted, and therefore he

did not meet his burden of showing clear evidence of discriminatory effect. Because he produces

no evidence on this point, it certainly does not rise to a “credible showing.” Moreover, his

speculative claims of discriminatory intent are based on “conjecture” and the evidence offered is

insufficient to permit discovery and an evidentiary hearing. See Slawick, 1993 U.S. Dist. LEXIS

11020, *9-12. On the issue of vindictive prosecution, defendant’s motion does not identify a

protected right he invoked, and he does not make a credible showing of animus. These

deficiencies in meeting the heightened pleading standard for discovery on selective and

vindictive prosecution claims warrants a denial of his discovery motion. Finally, because he

failed to present clear evidence in support of his motion, an evidentiary hearing is not warranted.

       B.      The Defendant’s Motion for an Evidentiary Hearing to Advance His
               Arguments Related to the Diversion Agreement is Unsupported by the Law

       In a footnote, the defendant states “[t]o the extent the Special Counsel disputes the facts

laid out in Mr. Biden’s Motion to Dismiss the Indictment Based on Immunity Conferred by His

Diversion Agreement and the Declaration of Christopher Clark (his former counsel) . . . an

evidentiary hearing where all the participants to the negotiations (including U.S. Attorney David

Weiss) should be held on that motion as well.” ECF 64 at n.1. The word “testify” appears to be

missing from this sentence, but that is apparently what he is seeking. As discussed in the

government’s response, because the defendant conceded in his motion that the Diversion

Agreement is unambiguous, the testimony of prosecutors and other parol evidence are not

relevant to the question of whether the Diversion Agreement is in effect. See In re Zohar III,

Corp., 2021 WL 3793895, at *6 (D. Del. Aug. 26, 2021). Accordingly, his request for an

evidentiary hearing should be denied.


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III.   CONCLUSION

       The defendant’s request for discovery and an evidentiary hearing should be denied.

                                                    Respectfully submitted,

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                                                    SPECIAL COUNSEL

                                          By:

                                                    ________________________________
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                                                    U.S. Department of Justice




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